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           1       COOLEY LLP
                   Koji F. Fukumura (189719) (kfukumura@cooley.com)
           2       Ryan E. Blair (246724) (rblair@cooley.com)
                   Erin C. Trenda (277155) (etrenda@cooley.com)
           3       4401 Eastgate Mall
                   San Diego, CA 92121
           4       Telephone: (858) 550-6000
                   Facsimile: (858) 550-6420
           5
                   Attorneys for Defendants
           6       Activision Blizzard, Inc., Robert A. Kotick, and Collister
                   Johnson
           7
           8                               UNITED STATES DISTRICT COURT
           9                             CENTRAL DISTRICT OF CALIFORNIA
         10
         11        MOHAMAD LABADE,                               Case No. 2:19-cv-00423-R-AFM
                   Individually and On Behalf of All
         12        Others Similarly Situated,                    NOTICE OF RELATED CASE
         13                        Plaintiff,
         14              v.
         15        ACTIVISION BLIZZARD, INC.,
                   ROBERT A. KOTICK, SPENCER
         16        NEUMANN, and COLLISTER
                   JOHNSON,
         17
                                   Defendants.
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  COOLEY LLP                                                                          NOTICE OF RELATED CASE
ATTORNEYS AT LAW                                            1.                  CASE NO. 2:19-CV-00423-R-AFM
   SAN DIEGO
               Case 2:19-cv-00423-R-AFM Document 45 Filed 05/03/19 Page 2 of 3 Page ID #:400



           1       TO THE COURT AND THE PLAINTIFF’S ATTORNEYS OF RECORD:
           2             Pursuant to Civil Local Rules 83-1.2.2 and 83-1.3.1, please take notice of the
           3       pendency of the following case, pending in the Central District of California: Hamano
           4       v. Activision Blizzard, Inc., et al., Case No. 2:19-cv-03788-SVW-AFM, filed on
           5       March 12, 2019 (“Hamano”).         The above-captioned action (Labade) is the low-
           6       numbered case in this District. Hamano was filed in the Northern District of Illinois
           7       and transferred to the Central District pursuant to 28 U.S.C. § 1404. The two cases,
           8       which are both putative class actions, meet the definition of “related action” under
           9       Local Rule 83-1.3.1 because they arise, in part, from the same events and involve the
         10        same parties, facts, and questions of law. The overlap in the actions is demonstrated
         11        by the allegations identified below:
         12                                 DEFENDANTS ARE THE SAME
         13              Both actions name Activision Blizzard, Inc., Robert A. Kotick, Spencer
         14        Neumann, and Collister Johnson as defendants.         (Labade Complaint, ¶¶ 15–18;
         15        Hamano Complaint ¶¶ 15–18.)
         16                            THE ALLEGED WRONGFUL CONDUCT
         17                               IS SUBSTANTIALLY THE SAME

         18              Labade Complaint ¶ 36: “Defendants made false and/or misleading statements
         19        and/or failed to disclose that: (i) the termination of Activision Blizzard and Bungie’s
         20        partnership, giving Bungie full publishing rights and responsibilities for the Destiny
         21        franchise, was imminent; (ii) the termination of the two companies’ relationship
         22        would foreseeably have a significant negative impact on Activision Blizzard’s
         23        revenues; and (iii) as a result, Activision Blizzard’s public statements were materially
         24        false and misleading at all relevant times.”
         25              Hamano Complaint ¶ 36:           “The statements referenced in ¶¶25-35 were
         26        materially false and misleading when made because Defendants failed to disclose the
         27        following adverse facts, which they knew or recklessly disregarded: (a) that there had
         28        been a deterioration in the business relationship between Activision Blizzard and
  COOLEY LLP                                                                         NOTICE OF RELATED CASE
ATTORNEYS AT LAW
   SAN DIEGO
                                                            2.                 CASE NO. 2:19-CV-00423-R-AFM
               Case 2:19-cv-00423-R-AFM Document 45 Filed 05/03/19 Page 3 of 3 Page ID #:401



           1       Bungie; (b) that the termination of Activision Blizzard and Bungie’s partnership,
           2       giving Bungie full publishing rights and responsibilities for the Destiny franchise, was
           3       imminent; (c) that the termination of the two companies’ relationship would
           4       foreseeably have a significant negative impact on Activision Blizzard’s revenues; and
           5       (d) that, as a result, Activision Blizzard’s public statements were materially false and
           6       misleading at all relevant times.”
           7                         THE CAUSES OF ACTION ARE THE SAME
           8             Both actions assert causes of action under §§ 10(b) and 20(a) of the Securities
           9       Exchange Act of 1934 (“Exchange Act”) and Rule 10b-5 promulgated thereunder.
         10                            THE CLASS DEFINITION IS THE SAME
         11              Labade Complaint ¶ 1: “This is a federal securities class action on behalf of a
         12        class consisting of all persons other than Defendants who purchased or otherwise
         13        acquired Activision Blizzard securities between August 2, 2018 and January 10, 2019,
         14        both dates inclusive (the ‘Class Period’).”
         15              Hamano Complaint ¶ 1: “This is a federal securities class action on behalf of a
         16        class consisting of all persons who purchased or otherwise acquired Activision
         17        Blizzard securities between August 2, 2018 and January 10, 2019, both dates inclusive
         18        (the ‘Class Period’).”
         19        Dated: May 3, 2019                      COOLEY LLP
         20                                                /s/Ryan E. Blair
                                                           Koji F. Fukumura (189719)
         21                                                Ryan E. Blair (246724)
                                                           Erin C. Trenda (277155)
         22                                                4401 Eastgate Mall
                                                           San Diego, CA 92121
         23                                                Telephone: 858-550-6000
                                                           Facsimile: 858-550-6420
         24                                                Email: kfukumura@cooley.com
                                                                   rblair@cooley.com
         25                                                        etrenda@cooley.com
         26                                                Attorneys for Defendants
                                                           Activision Blizzard, Inc., Robert A. Kotick,
         27                                                and Collister Johnson
         28
  COOLEY LLP                                                                          NOTICE OF RELATED CASE
ATTORNEYS AT LAW
   SAN DIEGO
                                                            3.                  CASE NO. 2:19-CV-00423-R-AFM
